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                                     UNITED STATES DISTRICT COURT
                                 FOR THE NORTHERN DISTRICT OF ILLINOIS
                                           EASTERN DIVISION


                                                                                                         REGEIVED
                                                                                                                   JUL 0 6 2CI21q

                                                                                                            THOMAS G BRUTON
                                                                            CIVL ACTION                 CLERK, U.S. DISTI1ICT COURT
  (Name ofthe plaintiff or plaintiffs)
                                                                       1:21-cv43580
                         V,                                            Judge Thomas il. Durkin
         )ntreD S+Af=: _                                          l
                                                                       Magistrate Judge Gabriel A. Fuentes

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 tr"erhttobL                       -f
             of the defendant or defendants)
                                             1-t/rrySl
rJ'{ame
(P" s(-n* stE.z)
                              COMPLAINT OF EMPLOYMENT DISCRIMINATION

  l.    This is an action for employment discrimination.

  2.    rhe prainti     r* Morza*                                     A         Pao         Lg                                   orthe

  county     of          C-ek,                                            in the state   of lC
  3.    The defendant         is D -E                                                                                           , whose

  street address is                                                                                                                C
  (
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      .f -ty)_________:_(            co   unty)                       1.tut";?-                         rnpt Aoa           cft
                                                      *ql
                                                      'd-l -          fr 5Z 1 9                    a *-
  (Derendant's terephone             number)                                                                         fuUtX:€              TZ   p
  4.    The plqlntjff sought employment or was employed by the defendant at (street addresi)                              #qSlct
              bs?s                                                                                                                Aff-/qc
        6{-Grcneirz-b                                                                     oitv>fu€dE
        (county)&xL                        6txe)    %-                sn*0"1         ba444€+L                                             AW


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5.       The plaintiff fcheek one boxl

         (") {                was denied employment by the defendant.

         (b) tr               was hired and is still employed by the defendant.

         (c)                      employed but is no longer employed by the defendant.
                  Kwas
6.       The defendant discriminated ag4i4qt the plaintiff                                    , or beginning on or about,
         (mo

7.1

         (a)       The defendant is not a federal governmental agency, and the plaintiff
                   fcheck one boxl Ehas frhas not filed a charge or charges against the defendant

                   asserting the acts of discrimination indicated in this complaint with any of the

                   following government agencies              :



                   (i) tr the United States Equal Employment Opportunity Commission, on or about
                              (month)                       (dav)-                (vear)-
                   (ii) E the Illinois Department of Human Rights, on or about
                              (month)                       (day)-                (year)-.
         (b)       If   charges were frled with an agency indicated above, a copy of the charge is

                   attached.      E   Yes,   E   No, but    plaintiffwill file a copy of the charge within                    14 days.



         It is the policy of both the Equal Employment Opportunity Commission and the Illinois

         Department of Human Rights to cross-file with the other agency all charges received. The

         plaintiff       has no reason to believe that this          policy was not followed in this case.



7.2      The defendant is a federal governmental agency, and

         (a)            the   plaintiff previously filed    a     Complaint of Employment Discrimination with the

             [f   you need additional space for ANY section, please attach an addltional sheet and reference that section.]

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         defendant asserting the acts of discrimination indicated in this court complaint.

                    K".,           (month)          /                      Gay)    [*        (year)   ZAD
                       E     No, did not file Complaint of Employment Discrimination

         (b)           The plaintiff received a Final Agency Decision on (month)                         JU n C
                                  tl/
                       (day)                   tr.*l{QQ-
         (c)           Attached is a copy of the

                       (i)                                        Discrimination,            5t=< CJ+S€
                             Complaint of Employment

                                                                              ,nr"affi?F^                       ,:?
                                                                                                                          3-
                       (ii) Final Agency Decision                                                                       oo{3
                             E Yes ffi0,                but a copy will be filed within 14 days.


8.       (Complete paragraph 8 only if defendant is not afederal governmental agency.)


         ,,N                 the United States Equal Employment Opportunity Commission has not

                             issued a Notice of Right to Sue.

         (b)     tr    the United States Equal Employnent Opportunity Commission has issued

                             a   Notice of Right to Sue, which was received by the plaintiff on

                             (month)                          (day)_                (year)_                 a copy    of which

                             Notice is attached to this complaint.


9.       The defendant discriminated against the plaintiff because of the plaintiff s lcheck only

         those that applyl:

         (a) tr         Age (Age Discrimination Employment Act).

         (b) E          Color (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).



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         @)X"rsability                 (Americans with Disabilities Act or Rehabilitation Act)

         (d) E          National Origin (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).

         (e)        E Race (Title VII of the Civil Rights Act of 1964 and42 U.S.C. $1981).
         (0 tr           Religion (Title     vII   of the civil Rights Act of 1964)

         (g)        E    Sex (Title    vII   of the   civil   Rights Act of 1964)


10.       If the defendant is a state, county, municipal (city, town or village) or other local

         governmental agency, plaintiff further alleges discrimination on the basis of race, color, or

         national origin (42 U.S.C. $ 1983).


11.      Jurisdiction over the statutory violation alleged is conferred as follows: for Title VII claims

         by 28 U.S.C.$1331,28 U.S.C.$1343(a)(3), and42 U.S.C.$2000e-5(0(3); for 42

         U.S.C.$1981 and $1983 by 42 U.S.C.$1988; forthe A.D.E.A.by 42 U.S.C.$I2ll7; forthe

         Rehabilitation Act, 29 U.S.C. $ 791.


t2.      The defendantlcheck only those that applyl
         (a)     tr
                failed to hire the plaintiff.

         (b)     tr     terminated the plaintiff s employment.

         (c)     tl     failed to promote the plaintiff.

         fa$ffed               to reasonably accommodate the plaintifrs religion.

         f9ft"ifed             to reasonably accommodate the plaintiff s disabilities.

         tOfr"iled             to stop harassment;

         G)X  retaliated against the plaintiff because the plaintiff did something to assert rights
          e \protected by the laws identified in paragraphs 9 and 10 above;
         (h)     tr     other(specify):

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13.       The facts supporting the plaintiff s claim of discrimination are as follows:
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          flDD                                            Rtfrtt                                                           StToDtNG
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t4.
      Jt ag                            doD-/
          IAGE OtS CntfuLN,aTION ONLY Defendant knowingly, intentionally, and will tulllrd6i 7^-"
                                                                                                                                 $10-
          discriminated against the plaintiff.
                                                                                                                                  oo{l
15.       The plaintiff demands that the case be tried by                    a   jury.   E Yes EI No
16.       THEREFORE, the plaintiff asks that the court grant the following relief to the plaintiff
          lcheck only those that apply)

          (a)          EI Direct     the defendant to hire the plaintiff.

          (b)          E    Direct the defendant to re-employ the plaintiff.

          (c)          E    Direct the defendant to promote the plaintiff.

          (d)          E    Direct the defendant to reasonably accommodate the plaintifP                         s   religion.

          (e)          E    Direct the defendant to reasonably accommodate the plaintiff s disabilities.

          (0           E    Direct the defendant to (specify):




               [f   you need additional space for ANY section, please attach an additional sheet and reference that section.]

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          (e)                If available, grant the plaintiff appropriate injunctive relief, lost                  wages,
                             liquidated/double damages, front pay, compensatory damages, punitive
                             damages, prejudgment interest, post-judgment interest, and costs, including
                             reasonable attorney fees and expert witness fees.

          (h)           E    Grant such other relief as the Court may find appropriate.




          (Plaintiff s signature)


                   ffss name)
          (Plaint iff

             I          B
          (Plaintiff s street address)


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